Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 1 of 39 Page ID #:1



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  7
  8                        UNITED STATES DISTRICT COURT
  9          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 10
 11 JOHN (BEAU) BILLINGSLEA, an          ) CASE No.
    individual and CECELIA               )
 12 BILLINGSLEA, an individual           ) COMPLAINT FOR:
                                         )
 13                          Plaintiff,  ) 1. Violation of § 10(b) of the Securities
                                         )     Exchange Act of 1933 and Rule
 14         vs.                          )     10(b)-(5);
                                         ) 2. Violation of § 12(a)(1) of the 1933
 15   HOWARD M. SILVERSTEIN, an          )     Securities Act;
      individual; H. SILVERSTEIN AND     ) 3. Violation of the Racketeering
 16   COMPANY CPA, entity form unknown; )      Influence and Corrupt Organizations
      and DOES 1 through 25, inclusive,  )     “RICO”;
 17                                      ) 4. Breach of Contract;
                             Defendants. ) 5. Fraud and Deceit - Intentional
 18                                      )     Misrepresentation - Suppression of
                                         )     Fact;
 19                                      ) 6. Fraud and Deceit - Negligent
                                         )     Misrepresentation - Suppression of
 20                                      )     Fact;
                                         ) 7. Fraud and Deceit - Intentional
 21                                      )     Misrepresentation - Fraud in the
                                         )     Inducement;
 22                                      ) 8. Fraud and Deceit - Negligent
                                         )     Misrepresentation - Fraud in the
 23                                      )     Inducement;
                                         ) 9. Fraud and Deceit - Promise Made
 24                                      )     Without Intent to Perform;
                                         ) 10. Unjust Enrichment;
 25                                        11. Conversion; and
                                           12. Negligent Misrepresentation
 26
 27        Plaintiffs, JOHN (BEAU) BILLINGSLEA, an individual and CECELIA
 28 BILLINGSLEA, an individual (jointly referred to herein as “Plaintiffs” and/or
                                             Page 1

                                          COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 2 of 39 Page ID #:2



  1 “Billingsleas”), hereby respectfully bring this Complaint and allege as follows:
  2                                          PARTIES
  3         1.     Plaintiff, John (Beau) Billingslea (“J. Billingslea”), is now and was, at all
  4 times herein mentioned, an individual residing in the County of Los Angeles, State of
  5 California.
  6         2.     Plaintiff, Cecelia Billingslea (“C. Billingslea”), is now and was, at all
  7 times herein mentioned, an individual residing in the County of Los Angeles, State of
  8 California.
  9         3.     Plaintiffs are now and were, at all times herein mentioned, husband and
 10 wife.
 11         4.     Plaintiffs are informed and believe, and based upon such information and
 12 belief allege that Defendant, HOWARD M. SILVERSTEIN (“Defendant” and/or
 13 “Silverstein”), is now and was, at all times herein mentioned, an individual residing in
 14 the City of Irvine, County of Orange, State of California.
 15         5.     Plaintiffs are further informed and believe and based upon such
 16 information and belief allege that Silverstein is now and was, at all times herein
 17 mentioned, a certified public accountant duly licensed as same by the State of
 18 California, State Board of Accountancy.
 19         6.     Plaintiffs are further informed and believe, and based upon such
 20 information and belief allege that Defendant, H. SILVERSTEIN AND COMPANY
 21 CPA (“Silverstein and Company”) is now and was, at all times herein mentioned, an
 22 unknown entity owned and operated by Defendant Silverstein, which renders services
 23 as a financial advisor to its clients as well as other accounting services including but not
 24 limited to, tax preparation for companies in the United States and internationally.
 25         7.     Plaintiffs are further informed and believe and based upon such
 26 information and belief allege that Silverstein and Silverstein and Company (jointly
 27 “Silverstein” and/or “Defendants Silverstein” herein) maintain a telephone number of
 28 818/402-2845 and an email address of hsilversteincpa@gmail.com, and that Defendants
                                                Page 2

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 3 of 39 Page ID #:3



  1 Silverstein utilized the aforesaid telephone number and email address in all of their
  2 dealings with Plaintiffs herein.
  3         8.     As permitted by Local Rule 19-1, Plaintiffs aver that the true names and
  4 capacities of Defendants DOES 1 through 25, inclusive, whether individual, corporate,
  5 associate or otherwise, are unknown to Plaintiffs, who therefore sue said Defendants
  6 by such fictitious names. Plaintiffs will amend their Complaint to allege said Doe
  7 Defendants' true names and capacities when the same has been ascertained.
  8         9.     Plaintiffs are informed and believe, and upon such information and belief
  9 allege, that each of the defendants named herein as DOES 1 through 25, inclusive, were
 10 and are in some manner responsible for the actions, acts and omissions herein alleged,
 11 and for the damage caused by the defendants, and are, therefore, jointly and severally
 12 liable for the damages caused to Plaintiffs.
 13         10.    Plaintiffs are further informed and believe, and upon such information and
 14 belief allege, that each of the defendants including DOES 1 through 25, inclusive, were,
 15 at all times herein mentioned, acting in concert with, and in conspiracy with, each and
 16 every one of the remaining defendants.
 17         11.    At all times herein mentioned, defendants, and each of them, were an
 18 owner, a co-owner, an agent, representative, partner, and/or alter ego of its
 19 co-defendants, or otherwise acting on behalf of each and every remaining defendant
 20 and, in doing the things hereinafter alleged, were acting within the course and scope of
 21 their authorities as an owner, a co-owner, an agent, representative, partner, and/or alter
 22 ego of its co-defendants, with the full knowledge, permission and consent of each and
 23 every remaining defendant, each co-defendant having ratified the acts of the other
 24 co-defendants.
 25         12.    Wherever appearing in this Complaint, each and every reference to
 26 defendants or to any of them, is intended to be and shall be a reference to all defendants
 27 hereto, and to each of them, named and unnamed, including all fictitiously named
 28 defendants, unless said reference is otherwise specifically qualified.
                                               Page 3

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 4 of 39 Page ID #:4



  1                             JURISDICTION AND VENUE
  2         13.    This Court has original jurisdiction pursuant to 28 U.S.C. § 1138(a)
  3 because federal questions are presented under the Securities Act of 1933, 15 U.S.C. §§
  4 77a et. seq., as amended, and in particular, §§ 5, 12(1), 15, and 20, the Securities
  5 Exchange Act of 1933, 15 U.S.C. §§ 78j et. seq., as amended, and in particular, § 10(b)
  6 and Rule 10b-5, 28 U.S.C. § 1331. Original jurisdiction for this Court is also
  7 predicated on violations of the Racketeering Influenced and Corrupt Organizations Act
  8 (“RICO”), codified at 18 U.S.C. §§ 1961-1968. The RICO claims are predicated upon
  9 violations of 18 U.S.C. §§ 1962 and 1964. The Court also has supplemental jurisdiction
 10 pursuant to 28 U.S.C. § 1367 as the non-federal question claims arise from the same
 11 nucleus of operative facts.
 12         14.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(1) and (b)(2)
 13 because Plaintiffs reside in this judicial district and the events or omissions giving rise
 14 to the claims occurred in this judicial district, and all monies due to Plaintiffs from
 15 Defendants were due and payable in this judicial district.
 16            ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
 17         15.    Over the past twenty years, Defendant Silverstein and his wife were close
 18 personal friends of and financial advisors to Plaintiffs John and Cecelia Billingslea.
 19 The parties socialized frequently and Plaintiffs often sought out Defendant Silverstein’s
 20 advice on various financial matters over the years.
 21         16.    At all times herein mentioned, Silverstein was a close personal friend,
 22 confidant, personal and financial advisor to Plaintiffs. As a result thereof, Plaintiffs
 23 placed a high degree of confidence in suggestions made by Silverstein with regard to
 24 potential financial investments that would benefit Plaintiffs.
 25         17.    On the morning of October 4, 2020, during a FaceTime meeting between
 26 Silverstein, individually and on behalf of Silverstein and Company and Plaintiffs,
 27 Silverstein explained the investment “program” as follows:
 28                a.     Plaintiffs were directed by Silverstein to deposit their money into
                                               Page 4

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 5 of 39 Page ID #:5



  1                     Silverstein’s Chase Bank account. Silverstein would then send
  2                     their money along with others’ money, to Volta in the U.K. which
  3                     was allegedly managed by Rupon Anandanadarajah (“Rupon”).
  4                     Plaintiffs would then be paid a 10% return on their principal
  5                     investment by Silverstein via wire transfer, and Plaintiffs (most
  6                     importantly) would be able to withdraw their money at any time;
  7               b.    Silverstein continually reiterated during this initial FaceTime
  8                     meeting that this was a “safe investment” for Plaintiffs and that he,
  9                     as a trusted confidant and personal and financial advisor, would
 10                     never encourage Plaintiffs to enter into an investment which was
 11                     not totally safe or could/would in any way result in the loss of
 12                     Plaintiffs’ investment therein
 13        18.    On the afternoon of October 4, 2020 at approximately 1:35 p.m., Plaintiffs
 14 received an email from Defendants Silverstein thanking them for being on the
 15 FaceTime call with him and Maggie Smith, J. Billingslea’s former theatrical manager
 16 from 1995-2015 who is now totally incapacitated as a result of Lewy Body Dementia,
 17 along with a PDF attachment of the Volta website which pertained to the investment
 18 which Silverstein had encouraged Plaintiffs to make. A true and correct copy of said
 19 email is attached hereto and incorporated herein by reference as Exhibit “1”.
 20        19.    At 4:04 p.m. on October 4, 2020, Plaintiffs received an email from
 21 Silverstein, individually and on behalf of Silverstein and Company further explaining
 22 the investment program. A true and correct copy of said email is attached hereto and
 23 incorporated herein by reference as Exhibit “2”.
 24        20.    On October 8, 2020, Silverstein sent an email to Plaintiffs setting forth the
 25 Chase bank account number (#xxxxx9739) into which Silverstein had directed that they
 26 deposit their money. A true and correct copy of said email is attached hereto and
 27 incorporated herein by reference as Exhibit “3”.
 28        21.    On October 8, 2020, Plaintiffs, in reasonable detrimental reliance on
                                               Page 5

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 6 of 39 Page ID #:6



  1 Silverstein’s then unknown to them fraudulent representations, deposited their check
  2 #3036 in the sum of $30,000.00 into Silverstein’s Chase Bank account. A true and
  3 correct copy of said check is attached hereto and incorporated herein by reference as
  4 Exhibit “4”.
  5         22.    On October 10, 2020, Silverstein acknowledged receipt of the $30,000.00
  6 via email, and promised Plaintiffs that the funds had been wired to Volta’s trust account
  7 in the U.K. by him. A true and correct copy of said email is attached hereto and
  8 incorporated herein by reference as Exhibit “5”.
  9         23.    On November 3, 2020, a $2,250,00 payment for October was deposited
 10 into Plaintiffs’ bank account (this was the only return on investment payment ever
 11 received despite Silverstein’s ongoing still unknown to Plaintiffs false and fraudulent
 12 promises that additional sums were forthcoming as set forth herein below). Said
 13 $2,250.00 represented 2/3 of the monthly return on investment for October because
 14 Plaintiffs’ funds were not deposited into Silverstein’s Chase Bank account until
 15 October 10, 2020.
 16         24.    On November 4, 2020, Silverstein emailed Plaintiffs stating that there was
 17 a “. . . new understanding of the project” with Rockwall Energy Fund. A true and
 18 correct copy of said email and a PDF of the Rockwall Energy Fund website attached
 19 thereto is attached hereto and incorporated herein by reference as Exhibit “6”.
 20         25.    On November 6, 2020, Plaintiffs deposited another $20,000.00 (Check
 21 #3140) into Silverstein’s Chase bank account (based on Silverstein’s still unknown to
 22 them fraudulent representations) bringing the total to $50,000.00. A true and correct
 23 copy of said check is attached hereto and incorporated herein by reference as Exhibit
 24 “7”.
 25         26.    On December 15, 2020, J. Billingslea called Silverstein at 818/402-2845
 26 and had a telephone conference with Silverstein wherein he advised J. Billingslea that
 27 he had been in the hospital for a few days with heart related issues and that’s why
 28 Plaintiffs had not received the 10% return on investment payment for November. J.
                                              Page 6

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 7 of 39 Page ID #:7



  1 Billingslea asked again for Rupon’s information for their protection, and Silverstein
  2 promised that he would send Rupon’s email address to J. Billingslea. Silverstein
  3 further stated that Rupon had a list of everyone and how much each person had
  4 deposited into Silverstein’s account. Silverstein also advised J. Billingslea that he
  5 (Silverstein) should have the money tomorrow (12/16/20) and would distribute it then
  6 to Plaintiffs.
  7         27.      Having not received the promised money, on December 18, 2020, J.
  8 Billingslea called Silverstein at 818/402-2845 and had a telephone conference with
  9 Silverstein wherein he stated that he (Silverstein) had “spoken to the guy (Silverstein
 10 never gave J. Billingslea his name) an hour or so ago and was expecting money
 11 tomorrow.”
 12         28.      On January 15, 2021, J. Billingslea emailed Silverstein at
 13 Hsilversteincpa@gmail.com asking if the program had collapsed since Plaintiffs hadn’t
 14 received the 10% per month return on investment payments as promised. A true and
 15 correct copy of said email is attached hereto and incorporated herein by reference as
 16 Exhibit “8”.
 17         29.      On January 16, 2021, Silverstein responded to J. Billingslea’s email of
 18 January 15, 2021 stating “I spoke with the banking person (no name was provided by
 19 Silverstein) late this afternoon and I expect to have you paid and current early this week
 20 . . .”. A true and correct copy of said email is attached hereto as Exhibit “9”.
 21         30.      On January 21, 2021, J. Billingslea called Silverstein at 818/402-2845 and
 22 had a telephone conference with Silverstein wherein Silverstein stated “End of next
 23 week they’ll (Silverstein never identified who ‘they’ are) be wiring the money and I’ll
 24 get it to you. Signatures and paperwork are holding up payment; spoke with people
 25 (who were never identified by Silverstein) in the UK and will talk with them tomorrow.
 26 New people get 5-7%. You get 10%. Will call you after talking with them.”
 27 Silverstein never called.
 28         31.      On February 4, 2021, J. Billingslea called Silverstein at 818/402-2845 and
                                                Page 7

                                              COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 8 of 39 Page ID #:8



  1 had a telephone conference with Silverstein wherein Silverstein stated “Spoke with
  2 banker (who Silverstein never identified by name) today, money being transferred. Got
  3 final paperwork notarized, will get money Monday or Tuesday and you’ll get double
  4 (2 months) payment at end of month. November and December money next week.”
  5         32.    On February 9, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  6 had a telephone conference with Silverstein wherein Silverstein stated “just got off the
  7 phone with the money guy (whose identity Silverstein did not reveal) and he said we’ll
  8 have all the money in the next 2-3 days. You’ll be current before end of week.”
  9         33.    On February 12, 2021, J. Billingslea called Silverstein at 818/402-2845
 10 and had a telephone conference with Silverstein wherein Silverstein stated “just got off
 11 the phone with the money guy (whose identity again was not disclosed) who said
 12 money has been transferred (Silverstein never disclosed from where or from whom).
 13 Monday is a bank holiday so it’ll be transferred to me (Silverstein) and I’ll get it to you
 14 (Billingsleas) Tuesday or Wednesday. I’ll call you as soon as it’s in my account. It was
 15 transferred today around noon.” Silverstein never called Billingsleas.
 16         34.    On February 17, 2021, J. Billingslea called Silverstein at 818/402-2845
 17 and had a telephone conference with Silverstein wherein Silverstein stated “I’m
 18 supposed to get the money tomorrow. Soon as I get it I’ll call you, I just have to
 19 coordinate with the bank (Silverstein never disclosed which bank) so I can wire it to
 20 you.”
 21         35.    On February 18, 2021, J. Billingslea did a Google search for Rockwall
 22 Energy Fund (see Exhibit “6” hereto) and learned that it did not exist. J. Billingslea
 23 immediately called Silverstein at 818/402-2845 with regard to the information he had
 24 learned and Silverstein stated “that didn’t materialize”.
 25         36.    On February 19, 2021, J. Billingslea called Silverstein at 818/402-2845
 26 and had a telephone conference with Silverstein wherein Silverstein stated “I’ll be
 27 talking to them in the next half hour. I’m just waiting for them to release the money to
 28 me. I may get the money today or tomorrow. One of the guys (Silverstein never
                                               Page 8

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 9 of 39 Page ID #:9



  1 disclosed their names) with the money is in Texas and everything has slowed to a crawl
  2 in Texas. It’s already been confirmed that everything is ready to go”. J. Billingslea
  3 advised Silverstein that this situation was causing Plaintiffs a lot of stress because the
  4 $50,000.00 deposited into Silverstein’s bank account was earmarked to pay off
  5 Plaintiffs’ granddaughter’s college loans.
  6         37.   On February 25, 2021, J. Billingslea called Silverstein at 818/402-2845
  7 and had a telephone conference with Silverstein wherein Silverstein stated “They were
  8 at the bank today and I expect to hear from them in the next 15-20 minutes. It’s ready
  9 to go, I could wire it out in the next couple of days. Will call you after talking to
 10 them.” However, as usual, Silverstein never called.
 11         38.   On March 1, 2021, J. Billingslea called Silverstein at 818/402-2845 and
 12 had a telephone conference with Silverstein wherein Silverstein stated “I can’t stand up
 13 because of my back. I’ll be getting money tomorrow . . . thought it was supposed to be
 14 today but it was delayed a day. By tomorrow I’ll get everybody caught up. I’ll get you
 15 paid for November/December and at the end of the week you’ll get a double payment
 16 to get you current. $10,000 tomorrow then another $10,000 Friday or Monday. There
 17 was a screw-up by somebody else (Silverstein never disclosed the name) I was dealing
 18 with but by tomorrow I’ll get you paid for November and December. We’ll talk
 19 tomorrow”. J. Billingslea told Silverstein that he wanted the entire $50,000.00 back.
 20 Silverstein never called him.
 21         39.   On March 2, 2021, J. Billingslea called Silverstein at 818/402-2845, got
 22 Silverstein’s voicemail and left a message that Plaintiffs wanted the entire $50,000.00
 23 returned forthwith.
 24         40.   On March 3, 2021, J. Billingslea called Silverstein at 818/402-2845 and
 25 had a telephone conference with Silverstein wherein Silverstein stated “Was told by the
 26 people in London getting the money on Friday or early next week. Should get the
 27 double payment next week. The money is in London and it’s just a matter of getting
 28 it transferred. I may give everybody a bonus. I’ll bring you current $20,000 by
                                               Page 9

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 10 of 39 Page ID #:10



   1 Tuesday or Wednesday next week.” J. Billingslea again told Silverstein that the
   2 Billlingsleas wanted the entire $50,000.00 returned. Silverstein assured J. Billingslea
   3 that the principal was not at risk.
   4         41.    On March 8, 2021, J. Billingslea sent an email to Silverstein again at
   5 Hsilversteincpa@gmail.com requesting Rupon’s contact information. A true and
   6 correct copy of said email is attached hereto and incorporated herein by reference as
   7 Exhibit “10”.
   8         42.    Later on March 8, 2021, J. Billingslea telephoned Silverstein at 818/402-
   9 2845 and left a voicemail message for Silverstein that he still wanted Rupon’s contact
  10 information.
  11         43.    On March 10, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  12 had a telephone conference with Silverstein wherein Silverstein stated “They’ll
  13 (Silverstein never disclosed who ‘they’ are) be transferring money if not today,
  14 tomorrow” and Silverstein promised that Silverstein would contact J. Billingslea
  15 tomorrow (March 11, 2021).
  16         44.    On March 11, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  17 had a telephone conference with Silverstein wherein Silverstein stated that Silverstein
  18 was “expecting money tomorrow. Delay was because one of the people is in the
  19 hospital so we have to get someone else to transfer the money. The person is in
  20 Beverly Hills. Effectively you’re owed 4 monthly payments. So I’ll send you 2
  21 payments covering November/December and January/February. Your principal is
  22 secure, it’s just getting you the return on investment payment on it. I’ll call you
  23 tomorrow, you’ll be getting 2 payments of $10 grand each”. Again, J. Billingslea told
  24 Silverstein to return the $50,000 which Plaintiffs had invested forthwith.
  25         45.    On March 12, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  26 had a telephone conference with Silverstein wherein Silverstein stated “On the phone
  27 with them now, can I call you back?” Silverstein, however, never called back.
  28         46.    On March 15, 2021, J. Billingslea called Silverstein at 818/402-2845 and
                                               Page 10

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 11 of 39 Page ID #:11



   1 had a telephone conference with Silverstein wherein Silverstein stated “they’ll be
   2 transferring me money tomorrow. You’ll have all of your money, if not tomorrow,
   3 Wednesday. I’ll call you tomorrow and tell you what I’m sending you”. Again, J.
   4 Billingslea told Silverstein to return the $50,000 investment and provide him with
   5 Rupon’s address forthwith. Silverstein did neither.
   6         47.   On March 16, 2021, J. Billingslea left another voicemail message for
   7 Silverstein at 818/402-2845 advising Silverstein that he must return Plaintiffs’$50,000
   8 investment and give J. Billingslea Rupon’s contact information. J. Billingslea also
   9 advised Silverstein that if anything happened to Silverstein, Plaintiffs had no way of
  10 recouping their money.
  11         48.   On March 22, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  12 had another telephone conference with Silverstein wherein Silverstein stated “I’ll have
  13 money for you Wednesday. I thought it was going to be today.” J. Billingslea again
  14 asked Silverstein to return the $50,000 investment and to provide him with Rupon’s
  15 contact information forthwith. In response thereto, Silverstein stated“I have to
  16 coordinate all of that. I want you to be happy” and promised that the return on
  17 investment payments would be coming by the end of the week and the $50,000 would
  18 be returned by the middle of the next week. Neither ever happened.
  19         49.   On March 25, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  20 had a telephone conference with Silverstein wherein Silverstein stated “they’ve got the
  21 money. It’s just a matter of releasing it to me (Silverstein). Could be tomorrow or
  22 worst case scenario, Monday. I’ll be talking to the guy in the next hour to hour and a
  23 half. I’ll call you after talking to him and will give you Rupon’s information.” Again,
  24 Silverstein never called back.
  25         50.   On April 1, 2021, J. Billingslea called Silverstein at 818/402-2845 and had
  26 a telephone conference with Silverstein wherein Silverstein stated “I was told about ½
  27 hour ago that they’ll be transferring the money tomorrow. It’s Good Friday, but I may
  28 be able to wire the money out Saturday. I may be getting confirmation in a couple of
                                              Page 11

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 12 of 39 Page ID #:12



   1 hours. I’ll call you back after that.” When J. Billingslea reminded Silverstein that
   2 Silverstein still hadn’t provided Rupon’s information, Silverstein responded “I’ve been
   3 swamped. I thought about it today. I’ll send it to you. I apologize. It’s just been crazy
   4 with tax season and all. I’ll call you tomorrow.”
   5         51.    On April 5, 2021, J. Billingslea called Silverstein again at 818/402-2845
   6 and had a telephone conference with Silverstein wherein Silverstein stated “I’ll have
   7 the money on Wednesday and you (Billingsleas) will have it probably no later than
   8 Thursday. Certain paperwork hadn’t been cleared and other monies hadn’t been
   9 received but everything is formalized. I (Silverstein) was told this last night as far as
  10 what’s happening”. J. Billingslea told Silverstein that this is all just horrible and it’s
  11 having a great negative affect both financially and emotionally on Plaintiffs’ lives.
  12         52.    On April 5, 2021, J. Billingslea called Silverstein again at 818/402-2845
  13 and had a telephone conference with Silverstein wherein Silverstein stated “It’s Easter
  14 Monday and therefore they are closed. They’re on an Easter Holiday”. J. Billingslea
  15 advised Silverstein that this was nonsense and that it had nothing to do with Silverstein
  16 giving J. Billingslea Mr. Rupon’s contact information. Silverstein agreed and promised
  17 to get the information to J. Billingslea that night or the next day. To date, Silverstein
  18 has never provided J. Billingslea with Rupon’s contact information.
  19         53.    On April 8, 2021, J. Billingslea called Silverstein at 818/402-2845 and had
  20 a telephone conference with Silverstein wherein J. Billingslea advised Silverstein that
  21 Silverstein’s actions were totally disrupting Plaintiffs’ lives both financially and
  22 emotionally, and J. Billingslea accused Silverstein of scamming the Billingsleas.
  23 Silverstein, of course, denied it.
  24         54.    On April 9, 2021, J. Billingslea called Silverstein at 818/402-2845 and left
  25 a voicemail message requesting that Silverstein call J. Billingslea back. Silverstein
  26 never did.
  27         55.    On April 14, 2021, J. Billingslea called Silverstein again at 818/402-2845
  28 and left a voicemail message for Silverstein to call J. Billingslea back. Silverstein
                                                Page 12

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 13 of 39 Page ID #:13



   1 never did.
   2         56.    On April 15, 2021, J. Billingslea again called Silverstein at 818/402-2845.
   3 During said telephone call Silverstein stated “Got a call about 2 hours ago saying I’ll
   4 have the money tomorrow. My plan is to call you when I have it. Because it’s a large
   5 sum of money, I might not be able to release it until Monday. It’s all been projections.
   6 The banker (whose name Silverstein never disclosed), the guy (whose name Silverstein
   7 never disclosed) who has the money and me will be on the phone and I’ll give him my
   8 direct wire information. My plan is to send you 2 or 3 wires. November/December,
   9 January/February and the third would be March. Haven’t sent Rupon’s information
  10 because I’ve been so busy. I’ll get you the information tomorrow. I apologize. I’ll call
  11 you tomorrow. Silverstein never paid the promised monies and never provided
  12 Rupon’s information.
  13         57.    On April 16, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  14 left a voicemail message for Silverstein requesting that Silverstein please call J.
  15 Billingslea. Silverstein never did.
  16         58.    On April 19, 2021, J. Billingslea sent a demand letter to Silverstein via
  17 email to Hsilversteincpa@gmail.com demanding that Silverstein return the $50,000.00
  18 investment to Plaintiffs. A true and correct copy of said demand letter is attached
  19 hereto and incorporated herein by reference as Exhibit “11”.
  20         59.    On April 20, 2021, J. Billingslea again called Silverstein at 818/402-2845
  21 and had a telephone conference with Silverstein wherein Silverstein told J. Billingslea
  22 of Silverstein’s physical problems and promised “Tonight between 8-8:30 p.m. I’ll
  23 know about the money situation . . . the return on investment plus 50,000 principal. I
  24 owe you 6 months worth of return on investment payments so I’ll take care of that as
  25 well. Will call you later.” Silverstein never did.
  26         60.    On April 21, 2021, J. Billingslea called Silverstein at 818/402-2845 and
  27 left Silverstein a voicemail to call J. Billingslea, that this is beyond absurd, and that it
  28 has to end before it escalates to lawyers. To date, Silverstein has never called J.
                                                Page 13

                                              COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 14 of 39 Page ID #:14



   1 Billingslea back, and Silverstein has never made any attempt whatsoever to pay to
   2 Plaintiffs the $85,000.00 which Silverstein owes to them.
   3         61.    In or about the middle of May, Plaintiffs retained Ronald P. Slates, Esquire
   4 of Ronald P. Slates, A Professional Corporation (the “Firm”), to represent them with
   5 regard to the outstanding indebtedness due from Silverstein.
   6         62.    On or about June 1, 2021, a demand letter was hand delivered to
   7 Silverstein by Carl Knapp, the Firm’s in-house investigator and registered process
   8 server. Mr. Knapp personally handed the demand letter to Silverstein who accepted
   9 same without argument. A true and correct copy of said demand letter is attached hereto
  10 and incorporated herein by reference as Exhibit “12".
  11         63.    To date, Silverstein has never responded to the demand letter and has had
  12 no further contact or communications with Plaintiffs nor has he made any payments
  13 whatsoever to Plaintiffs to date.
  14                              FIRST CAUSE OF ACTION
  15     (Violation of § 10(b) of the Securities Exchange Act of 1933 and Rule 10(b)-(5)
  16                                  Against all Defendants)
  17         64.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  18 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  19 set forth herein.
  20         65.    The Defendants, and each of them, with scienter, by engaging in the
  21 conduct described above, directly or indirectly, in connection with the purchase or sale
  22 of securities by use of means or instrumentality of interstate commerce, or of the mails:
  23                a.    Employed devices, schemes of artifices to defraud;
  24                b.    Made untrue statements in material fact or omitted to a stated fact
  25                      necessary in order to make the statements made, in light of the
  26                      circumstances under which they were made, not misleading; or
  27                c.    Engaged in acts, practices, or courses of business conduct which
  28                      operated or would operate as a fraud or deceit on other persons; in
                                                Page 14

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 15 of 39 Page ID #:15



   1                       violation of § 10(b) of the Securities Exchange Act (15 U.S.C. §
   2                       28j) and Rule 10(b)-(5) (17 C.P.R.) thereunder.
   3         66.    By reason of the foregoing, each of the Defendants violated, and unless
   4 restrained and enjoined will continue to violate § 10(b) of the Securities Exchange Act
   5 and Rule 10(b)-(5) thereunder.
   6         67.    Plaintiffs are informed and believe and based thereon allege that
   7 Defendant Silverstein is a “control person” of H. Silverstein and Company CPA and
   8 he acted as a control person within the meaning of § 20(a) of the Securities Exchange
   9 Act.
  10         68.    By virtue of Defendant Silverstein being a control person or owner of his
  11 CPA practice, he clearly was in charge of the operations and had intimate knowledge
  12 of the false financial information that he provided to Plaintiffs and, thus, had the power
  13 to influence and control and did influence and control, directly or indirectly, the
  14 conduct of his CPA business, including the content and dissemination of various
  15 statements that Plaintiffs contend are false and misleading.
  16         69.    Defendant Silverstein was directly in charge of these material
  17 misstatements as set forth above, prior to and/or shortly after these statements were
  18 made, and he had the ability to prevent the issuance of such statements or cause the
  19 statements to be corrected.
  20         70.    Plaintiffs are informed and believe and based thereon allege that by being
  21 an owner of his CPA practice and functioning as an agent of the investments in Volta
  22 and in Rockwall Energy Fund that Silverstein is presumed to have had the power to
  23 control or influence the particular transactions giving rise to the securities violations as
  24 alleged in this Complaint.
  25         71.    As set forth above, Silverstein and any others acting in concert with him,
  26 and each of them, violated § 10(b) of the 1933 Securities Exchange Act, 15 U.S.C. §
  27 78j(b), and Rule 10(b)-(5), found at 17 C.F.R. § 240.10(b)-(5) as alleged in this
  28 Complaint. Thus, Silverstein by virtue of his position as a control person and owner,
                                                Page 15

                                              COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 16 of 39 Page ID #:16



   1 is liable pursuant to § 20 of the Securities Exchange Act, 15 U.S.C. § 78t-1.
   2         72.    As a direct and proximate result of these Defendants’ wrongful conduct,
   3 Plaintiffs suffered damages in connection with their investment [investment fund]
   4 during the period of October 2020 through April 2021.
   5                             SECOND CAUSE OF ACTION
   6                     (Violation of § 12(a)(1) of the 1933 Securities Act
   7                                   Against all Defendants)
   8         73.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1
   9 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  10 set forth herein.
  11         74.    No Registration Statement was in effect with the Securities and Exchange
  12 Commission (“SEC”) with respect to the investment made by Plaintiffs during the
  13 period of October 2020 through April 2021.
  14         75.    In the exercise of reasonable diligence, Plaintiffs had no reason to suspect
  15 that Silverstein had no intention of complying with the registration requirements
  16 applicable to the transaction at issue. By entering into the foregoing transactions,
  17 Silverstein affirmatively and fraudulently concealed the necessity for registration of the
  18 investment and his lack of intent to maintain any such registration.
  19         76.    Defendants, and each of them, by engaging in the conduct described
  20 above, directly or indirectly, through use of the means or instruments of transportation
  21 or communication in interstate commerce, or other mails, offered to sell or sold
  22 securities, or, directly or indirectly, carry or cause of such securities to be carried
  23 through the mails or interstate commerce for the purpose of sale or delivery after sale.
  24         77.    By reason of the above, Defendants, and each of them, directly or
  25 indirectly violated § 5(a) and (c) of the 1933 Securities Act, 15 U.S.C. § 77e(a), (c), and
  26 are subject to liability under § 12(a)(1) of the 1933 Securities Act, 15 U.S.C. § 77(a)(1).
  27         78.    Plaintiffs are informed and believe and based thereon allege that
  28 Defendant Silverstein was a control person and/or owner of the fund in which Plaintiffs
                                                Page 16

                                              COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 17 of 39 Page ID #:17



   1 invested and acted as a control person of Volta, within the meaning of § 15 of the 1933
   2 Securities Act.
   3         79.    By virtue of his high level position, either through ownership or
   4 contractual rights that made him a control person, Silverstein participated in and was
   5 aware of the false financial statements he made to Plaintiffs as well as was aware that
   6 the investment to which he solicited Plaintiffs’ investment should have been on file
   7 with the SEC. In short, Silverstein materially misstated the situation prior to and/or
   8 shortly after making the false statements to Plaintiffs, and he had the ability to prevent
   9 the issuance of these false statements or cause the statements to be corrected.
  10         80.    Plaintiffs are informed and believe and based thereon allege that by virtue
  11 of Silverstein’s relationship with Volta, that he had direct and supervisory involvement
  12 in day-to-day operations of Volta and in Rockwall Energy Fund and therefore is
  13 presumed to have the power to control or influence the particular transactions giving
  14 rise to the securities violations as alleged in this Complaint and exercise the same.
  15         81.    As set forth above, Silverstein and anyone else operating in concert with
  16 him violated § 12(a)(1) of the 1933 Securities Act, 15 U.S.C. § 77 / 77(a)(1), as alleged
  17 in this Complaint. By virtue of his position as a control person, Silverstein is liable
  18 pursuant to § 15 of the Securities Exchange Act, 15 U.S.C. § 77(o).
  19         82.    As a direct and proximate result of these Defendants’ wrongful conduct,
  20 Plaintiffs suffered damages in connection with their investment in Volta during the
  21 period of October 2020 through April 2021.
  22                              THIRD CAUSE OF ACTION
  23       (Violation of the Racketeering Influence and Corrupt Organizations “RICO”
  24                                  Against all Defendants)
  25         83.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  26 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  27 set forth herein.
  28         84.    The relevant time period for Defendant Silverstein’s pattern of
                                               Page 17

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 18 of 39 Page ID #:18



   1 racketeering stems from October 2020 through April 2021, and possibly earlier, but at
   2 this point in discovery is yet unknown and continues to the filing of this RICO
   3 Complaint.
   4         85.    Defendant Silverstein is and was at all times relevant to this action a
   5 “RICO Person” within the meaning of 18 U.S.C. §§ 1961(3) and 1962(c).
   6                                  The RICO Enterprise
   7         86.    Defendant Silverstein has used an association-in-fact “enterprise” within
   8 the meaning of 18 U.S.C. §§ 1961(4), to carry out the pattern of racketeering activity.
   9 This enterprise consists of Defendant Silverstein’s CPA business known as H.
  10 Silverstein and Company CPA. This enterprise possessed and continues to possess a
  11 common purpose and goal, a membership, organizational structure, an ongoing
  12 relationship between Defendant Silverstein, and H. Silverstein and Company CPA, with
  13 sufficient longevity to permit and enable pursuit of the enterprise’s purpose and long
  14 term objective through a continuous course of conduct that affected and continues to
  15 affect interstate and foreign commerce.
  16         87.    This enterprise exists separate and apart from its pattern of racketeering
  17 activity inasmuch as Defendant Silverstein and H. Silverstein and Company CPA have
  18 multiple goals, not all of which are fraudulent. The lawful activity engaged in by the
  19 enterprise includes providing services that consumers can obtain from a certified public
  20 accountant. But, Defendant Silverstein has, since at least October 2020, used this
  21 enterprise to conduct the related acts of mail and wire fraud comprising the pattern of
  22 racketeering, as well as the continuous acts set forth hereinabove, which constitute
  23 violations of the Securities Act.
  24         88.    Defendant Silverstein is a “person” under the civil RICO statute because
  25 he knowingly and fraudulently conducted and participated in the conduct, the
  26 management and the operation of the enterprise’s affairs, directly or indirectly, through
  27 a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c). Defendant
  28 Silverstein engaged in such unlawful conduct by using the enterprise to conduct lawful
                                               Page 18

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 19 of 39 Page ID #:19



   1 activities as well as to further his fraudulent scheme of causing false and misleading
   2 information to be disseminated to Plaintiffs by mail, interstate wires, or interstate
   3 carriers which then seduced Plaintiffs unknowingly into investing in the false and
   4 fraudulent scheme. Silverstein and the enterprise not only pursued gain, but did so by
   5 unlawful means whereby they maximized gain in profit through a pattern and practice
   6 of deception, misrepresentation and concealment of the true state of affairs regarding
   7 the financial investment in which Plaintiffs invested. Silverstein, as a licensed CPA
   8 under the state of California, had a duty to be truthful and lawful in his conduct which
   9 he blatantly violated through his enterprise.
  10                               The RICO Predicate Acts
  11         89.   Defendant Silverstein and his CPA business, Defendant H. Silverstein and
  12 Company CPA solicited multiple investments from Plaintiffs which investments were
  13 fraudulent.
  14         90.   For the purpose of devising and carrying out this scheme and artifice,
  15 Defendant Silverstein did place in an authorized depository for mail, or did deposit or
  16 caused to be deposited with private commercial interstate carriers, or knowingly caused
  17 to be delivered by interstate commerce, letters, memoranda and other false
  18 communications in violation of 18 U.S.C. § 1341, or aided and abetted in such criminal
  19 acts as previously described under 18 U.S.C. § 2.
  20         91.   For the purpose of devising and carrying out his fraudulent scheme and
  21 artifice, Defendant Silverstein caused to be transmitted by means of wire
  22 communication interstate commerce, writings, signals and sounds, to wit, interstate
  23 electronic mail messages and/or facsimiles in violation of 18 U.S.C. § 1343, or aided
  24 and abetted in such criminal acts as previously described, under 18 U.S.C. § 2.
  25         92.   Examples include but are not limited to the following predicate acts which
  26 were set forth in Paragraphs 13 through 48, and 55, which are restated as follows:.
  27               a.     Employed devices, schemes of artifices to defraud;
  28               b.     Made untrue statements in material fact or omitted to a stated fact
                                              Page 19

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 20 of 39 Page ID #:20



   1                      necessary in order to make the statements made, in light of the
   2                      circumstances under which they were made, not misleading; or
   3                c.    Engaged in acts, practices, or courses of business conduct which
   4                      operated or would operate as a fraud or deceit on other persons; in
   5                      violation of § 10(b) of the Securities Exchange Act and Rule 10(b)-
   6                      (5) thereunder.
   7         93.    Defendant Silverstein’s RICO predicate acts in furtherance of his scheme
   8 to fraudulently induce Plaintiffs to invest in fraudulent securities investments,
   9 constituted a pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(5)
  10 because the predicate acts are related and continuous. Each predicate act described
  11 hereinabove had the same or similar purpose: the predicate acts involved material
  12 misrepresentations, omissions and concealment in a scheme to injure Plaintiffs and
  13 defraud Plaintiffs of $50,000 which would have been more had Plaintiffs not finally
  14 recognized the fraudulent nature of all the predicate acts described herein above. This
  15 pattern of racketeering is separate and distinct from the legitimate accounting activities
  16 of Defendant Silverstein and his enterprise, H. Silverstein and Company CPA.
  17         94.    Defendant Silverstein is associated with the enterprise and did conduct or
  18 participate, directly or indirectly, in the management or operation of its conduct of the
  19 affairs of the enterprise through racketeering activity within the meaning of 18 U.S.C.
  20 §§ 1961(1)(B), 1961(5) and 1962(c), to wit:
  21                a.    Multiple instances of mail fraud in violation of 18 U.S.C. § 1341;
  22                      and
  23                b.    Multiple instances of wire fraud in violation of 18 U.S.C. § 1343.
  24         95.    All of the predicate acts alleged above are related to the scheme of
  25 Defendant Silverstein in his enterprise H. Silverstein and Company CPA. The acts are
  26 all related to a continuing series of fraudulent and illegal activity. Continuities
  27 demonstrate by the predicate acts alleged above because the pattern of racketeering
  28 involves multiple predicate acts and related predicate acts that have taken place
                                               Page 20

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 21 of 39 Page ID #:21



   1 between October 2020 and April 2021.
   2         96.   These predicate acts in furtherance of Silverstein’s fraudulent scheme
   3 illustrate a threat of continued racketeering activity and evince that the predicate acts
   4 constitute the regular way Defendant Silverstein conducts business.
   5         97.   To date, Plaintiffs have been damaged in an amount of at least $50,000
   6 plus prejudgment interest, attorneys’ fees.
   7                            FOURTH CAUSE OF ACTION
   8                       (Breach of Contract Against All Defendants)
   9         98.   Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  10 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  11 set forth herein.
  12         99.   There existed a contract between Plaintiffs and Defendants, the terms of
  13 which are set forth at Paragraphs 16 through 33, above.
  14         100. Plaintiffs have performed all terms, conditions and covenants required
  15 thereof under the contract described herein above.
  16         101. Defendants have failed to perform the various material covenants, terms
  17 and conditions required of them as set forth herein above. Thus, Defendants are in
  18 material breach.
  19         102. By virtue of Defendants’ breach, Plaintiffs have been damaged in an
  20 amount of at least $50,000 or an amount to be determined at trial.
  21                              FIFTH CAUSE OF ACTION
  22         (Fraud and Deceit - Intentional Misrepresentation - Suppression of Fact
  23                                 Against All Defendants)
  24         103. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  25 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  26 set forth herein.
  27         104. Plaintiffs are informed and believe, and based upon such information and
  28 belief allege that commencing on October 4, 2020 and continuing through at least April
                                               Page 21

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 22 of 39 Page ID #:22



   1 21, 2021, Defendants, and each of them, through Silverstein, personally, falsely,
   2 fraudulently and intentionally made the representations telephonically and in writing
   3 (via email) set forth in Paragraphs 16 through 58 hereinabove and as evidenced by
   4 Exhibits “1" through “11" hereto with regard to the investment venture with Defendants
   5 and Volta and/or other venture companies.
   6         105. The representations made by Defendants, and each of them, were in fact
   7 false, fraudulent and intentional. The true facts were that Defendants, and each of
   8 them, through Silverstein, knew, at the time they made the foregoing false and
   9 fraudulent representations that there was no “investment program” whereby Plaintiffs
  10 would be paid a 10% return per month on their principal investment and there were no
  11 bankers and/or investment companies involved and in truth and in fact it was a
  12 “scheme” orchestrated by Defendants. All of the false and fraudulent representations
  13 were made by Defendants, through Silverstein, to induce Plaintiffs into depositing a
  14 total of $50,000.00 into Defendants’ account.
  15         106. Furthermore, Plaintiffs believe that (a) the payment of $2,250.00 on
  16 November 3, 2020 (which was allegedly the first “return on their principal investment”)
  17 and (b) Defendants’ ongoing promises from November 4, 2020 through at least April
  18 21, 2021 that Plaintiffs would in fact be paid their 10% per month return on their
  19 principal investment would be “paid” (as set forth in Paragraphs 23 through 60
  20 hereinabove) were made with the intent to lull Plaintiff into a false sense of security so
  21 that Plaintiffs would deposit into Defendants’ account an additional $20,000.00 which
  22 Plaintiffs did on November 6, 2020 (as set forth in Paragraph 25 and as evidenced by
  23 Exhibit “7" hereto) and not take the appropriate legal action to collect the outstanding
  24 amounts due by the bringing of a lawsuit.
  25         107. Furthermore, Plaintiffs believe and thereon allege that Defendants, and
  26 each of them, never forwarded the $50,000.00 deposited into Silverstein’s Chase Bank
  27 account by Plaintiffs to Volta or any other investment venture but rather kept said
  28 monies in his own bank account and/or in bank accounts over which Silverstein had
                                               Page 22

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 23 of 39 Page ID #:23



   1 absolute custody and control, thus converting same to his own use and benefit so that
   2 he could use same to further his fraudulent “investment program” and/or his lifestyle.
   3         108. Plaintiffs are further informed and believe and based thereon allege that
   4 Defendants never had any intention whatsoever of paying Plaintiffs any additional sums
   5 on their said investment but rather intended to keep said $50,000.00 investment and
   6 convert same to their own use and benefit.
   7         109. When Defendants, and each of them, intentionally made these false and
   8 fraudulent representations they knew them to be false, and these false and fraudulent
   9 representations were made by Defendants, and each of them, with the intent to defraud
  10 and deceive Plaintiffs, and with the intent to induce Plaintiffs to act in the manner
  11 herein alleged.
  12         110. Plaintiffs, at the time these false and fraudulent representations were
  13 intentionally made by Defendants, and each of them, and at the time Plaintiffs took the
  14 actions herein alleged, were ignorant of the falsity of Defendants' representations and
  15 believed them to be true.       In justifiable reliance on these false and fraudulent
  16 representations, Plaintiffs were induced to and did deposit $50,000.00 in a bank account
  17 controlled, exclusively, by Silverstein. Had Plaintiffs known the actual facts, they
  18 would never have deposited said $50,000.00 into a bank account controlled by
  19 Silverstein. Plaintiffs reliance on Defendants' false and fraudulent representations was
  20 justified because Silverstein (who is now and was, at all times mentioned herein, a
  21 Certified Public Accountant) had been a long-time friend and personal and financial
  22 advisor to Plaintiffs.
  23         111. As a proximate result of Defendants' fraud and deceit and the facts herein
  24 alleged, Plaintiffs were deprived of not only the promised 10% per month return on
  25 their investment but the ability to invest their monies in a reliable investment program,
  26 all to Plaintiffs' damage in at least the sum of Fifty Thousand and 00/100 Dollars
  27 ($50,000.00) or according to proof at the time of trial, together with interest thereon at
  28 the lawful rate of 10% per annum from and after October 8, 2020 on the sum of
                                               Page 23

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 24 of 39 Page ID #:24



   1 $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00 plus the
   2 promised 10% per month return on their investment from and after October 8, 2020 on
   3 the sum of $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00.
   4         112. The aforementioned conduct of Defendants, and each of them, was
   5 intentional misrepresentation, deceit or concealment of a material fact known to the
   6 Defendants with the intention on the part of the Defendants of thereby depriving
   7 Plaintiffs of property or legal rights or otherwise causing injury, and was despicable
   8 conduct that subjected Plaintiffs to a cruel and unjust hardship in conscious disregard
   9 of Plaintiffs' rights, so as to justify an award of punitive and exemplary damages.
  10                             SIXTH CAUSE OF ACTION
  11          (Fraud and Deceit - Negligent Misrepresentation - Suppression of Fact
  12                                 Against All Defendants)
  13         113. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  14 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  15 set forth herein.
  16         114. Plaintiffs are informed and believe, and based upon such information and
  17 belief allege that commencing on October 4, 2020 and continuing through at least April
  18 21, 2021, Defendants, and each of them, through Silverstein, personally, negligently
  19 made the false representations telephonically and in writing (via email) set forth in
  20 Paragraphs 15 through 60 hereinabove and as evidenced by Exhibits “1" through “11"
  21 hereto with regard to the investment venture with Defendants and Volta and/or other
  22 venture companies.
  23         115. When Defendants, and each of them, made the aforesaid representations
  24 they made them with no reasonable grounds for believing them to be true, in that
  25 Defendants, and each of them, knew or should have known, at the time the
  26 representations were made, that (a) there was no investment venture that was paying
  27 a 10% per month return on monies invested; and (b) Defendants did not have and
  28 would not be able to pay to Plaintiffs the promised 10% per month return on their
                                              Page 24

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 25 of 39 Page ID #:25



   1 investment. Furthermore, at the time that Defendants, and each of them, made the
   2 aforesaid representations, Defendants knew or should have known that Defendants had
   3 no intention whatsoever of repaying the monies invested by Plaintiffs then or at any
   4 time in the future.
   5         116. The aforesaid representations were made by Defendants, and each of them,
   6 with the intent to induce Plaintiffs to act in the manner herein alleged, i.e. to invest
   7 $50,000.00 with Defendants, and each of them.
   8         117. Plaintiffs, at the time these representations were made by Defendants, and
   9 each of them, and at the time Plaintiffs took the actions herein alleged, were ignorant
  10 of the falsity of Defendants' representations and believed them to be true. In justifiable
  11 reliance on these representations, Plaintiffs were induced to and did deposit $50,000.00
  12 into the Chase Bank account of Defendants, and each of them. Had Plaintiffs known
  13 the actual facts, they would not have deposited/invested $50,000.00 with Defendants,
  14 and each of them, but rather would have found another safer investment venture.
  15 Plaintiffs’ reliance on Defendants' representations was justified because Defendant
  16 Silverstein was a long-time close personal friend, confidant and personal and financial
  17 advisor to Plaintiffs.
  18         118. As a proximate result of Defendants' negligent representations and the
  19 facts herein alleged, Plaintiffs were deprived of not only the $50,000.00 deposited into
  20 Silverstein’s Chase Bank account but also the promised returns on their investment of
  21 10% per month, all to Plaintiffs’ damage in at least the sum of Fifty Thousand and
  22 00/100 Dollars ($50,000.00) or according to proof at the time of trial, together with
  23 interest thereon at the lawful rate of 10% per annum from and after October 8, 2020 on
  24 the sum of $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00
  25 plus the promised 10% per month return on their investment from and after October 8,
  26 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the sum of
  27 $20,000.00.
  28                            SEVENTH CAUSE OF ACTION
                                               Page 25

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 26 of 39 Page ID #:26



   1 (Fraud and Deceit - Intentional Misrepresentation - Fraud in the Inducement Against
   2                                       All Defendants)
   3         119. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
   4 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
   5 set forth herein.
   6         120. Plaintiffs are informed and believe, and based upon such information and
   7 belief allege that commencing on October 4, 2020 and continuing through at least April
   8 21, 2021, Defendants, and each of them, through Silverstein, personally, both
   9 telephonically and via email, made the intentional misrepresentations, fraudulent
  10 failures to disclose material information and fraudulent suppression of facts, set forth
  11 in Paragraphs 15 through 60 hereinabove and as evidenced by Exhibits “1" through
  12 “11" hereto, to Plaintiffs with regard to the investment venture with Defendants and
  13 Volta and/or other venture companies.
  14         121. Plaintiffs are informed and believe and thereon allege that Defendant
  15 Silverstein knew, fraudulently suppressed and failed to reveal to Plaintiffs the true facts,
  16 and that Defendant Silverstein knew or should have known, at the time he made the
  17 intentional misrepresentations that the fraudulent suppression of said material facts
  18 were likely to mislead the Plaintiffs and did in fact mislead the Plaintiffs.
  19         122. Plaintiffs are informed and believe and thereon allege that the foregoing
  20 intentional misrepresentations and fraudulent failures to disclose information and
  21 fraudulent suppressions of information herein alleged to have been made by Defendant
  22 Silverstein were made with the intent to induce Plaintiffs to act in the manner herein
  23 alleged in reliance thereon, and based thereon and upon the established relationship and
  24 trust and confidence that Plaintiffs reposed in Defendant Silverstein, and in actual and
  25 justifiable or reasonable reliance thereon, Plaintiffs invested $50,000.00 in the
  26 “investment program” as directed to do so by Defendant Silverstein.
  27         123. Plaintiffs, at the time these failures to disclose and fraudulent suppressions
  28 of facts occurred, and at the time Plaintiffs took the actions herein alleged, were
                                                Page 26

                                              COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 27 of 39 Page ID #:27



   1 ignorant of the existence of the facts that Defendant Silverstein suppressed and failed
   2 to disclose. If the Plaintiffs had been aware of the existence of the facts not disclosed
   3 by Defendant Silverstein, the Plaintiffs would not have, as they did, invested
   4 $50,000.00 in the investment program as directed to do so by Defendant Silverstein.
   5         124. As a proximate result of Defendants’ fraud and deceit and the suppression
   6 of material facts as herein alleged, Plaintiffs have been damaged in an amount of at
   7 least the sum of Fifty Thousand and 00/100 Dollars ($50,000.00) or according to proof
   8 at the time of trial, together with interest thereon at the lawful rate of 10% per annum
   9 from and after October 8, 2020 on the sum of $30,000.00 and from and after November
  10 6, 2020 on the sum of $20,000.00 plus the promised 10% per month return on their
  11 investment from and after October 8, 2020 on the sum of $30,000.00 and from and after
  12 November 6, 2020 on the sum of $20,000.00.
  13         125. The aforementioned conduct of Defendant Silverstein constituted
  14 intentional misrepresentation, fraud, deceit and suppression/concealment of material
  15 facts known to him with the intention on the part of Defendant Silverstein to deprive
  16 Plaintiffs of property or legal rights and otherwise cause injury, and was despicable
  17 conduct that subjected Plaintiffs to cruel and unjust hardship in conscious disregard of
  18 Plaintiffs’ rights, so as to justify an award of punitive and exemplary damages.
  19                            EIGHTH CAUSE OF ACTION
  20       (Fraud and Deceit - Negligent Misrepresentation - Fraud in the Inducement
  21                                 Against All Defendants)
  22         126. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  23 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  24 set forth herein.
  25         127. Plaintiffs are informed and believe, and based upon such information and
  26 belief allege that commencing on October 4, 2020 and continuing through at least April
  27 21, 2021, Defendants, and each of them, through Silverstein, personally, both
  28 telephonically and via emails, made the intentional misrepresentations, failures to
                                               Page 27

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 28 of 39 Page ID #:28



   1 disclose material information and suppression of facts set forth in Paragraphs 15
   2 through 60 herein above and as evidenced by Exhibits “1" through “11" hereto, to
   3 Plaintiffs with regard to the investment venture with Defendants and Volta and/or other
   4 venture companies.
   5         128. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Silverstein knew, suppressed and failed to reveal to Plaintiffs the true facts, and that
   7 Defendant Silverstein knew or should have known, at the time he made the
   8 misrepresentations that the suppression of said material facts were likely to mislead the
   9 Plaintiffs and did in fact mislead the Plaintiffs.
  10         129. Plaintiffs are informed and believe and thereon allege that the foregoing
  11 misrepresentations and failures to disclose information and suppressions of information
  12 herein alleged to have been made by Defendant Silverstein were made with the intent
  13 to induce Plaintiffs to act in the manner herein alleged in reliance thereon, and based
  14 thereon and upon the established relationship and trust and confidence that Plaintiffs
  15 reposed in Defendant Silverstein, and in actual and justifiable or reasonable reliance
  16 upon thereon, Plaintiffs invested $50,000.00 in the “investment program” as directed
  17 to do so by Defendant Silverstein.
  18         130. Plaintiffs, at the time these failures to disclose and suppressions of facts
  19 occurred, and at the time Plaintiffs took the actions herein alleged, were ignorant of the
  20 existence of the facts that Defendant Silverstein suppressed and failed to disclose. If
  21 the Plaintiffs had been aware of the existence of the facts not disclosed by Defendant
  22 Silverstein, the Plaintiffs would not have, as they did, invested $50,000.00 in the
  23 investment program as directed to do so by Defendant Silverstein.
  24         131. As a proximate result of Defendants’ fraud and deceit and the suppression
  25 of material facts as herein alleged, Plaintiffs have been damaged in an amount of at
  26 least the sum of Fifty Thousand and 00/100 Dollars ($50,000.00) or according to proof
  27 at the time of trial, together with interest thereon at the lawful rate of 10% per annum
  28 from and after October 8, 2020 on the sum of $30,000.00 and from and after November
                                               Page 28

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 29 of 39 Page ID #:29



   1 6, 2020 on the sum of $20,000.00 plus the promised 10% per month return on their
   2 investment from and after October 8, 2020 on the sum of $30,000.00 and from and after
   3 November 6, 2020 on the sum of $20,000.00.
   4                             NINTH CAUSE OF ACTION
   5              (Fraud and Deceit - Promise Made Without Intent to Perform
   6                                Against All Defendants)
   7         132. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
   8 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
   9 set forth herein.
  10         133. Plaintiffs are informed and believe, and based upon such information and
  11 belief allege that commencing on October 4, 2020 and continuing through at least April
  12 21, 2021, Defendants, and each of them, through Silverstein, personally, both
  13 telephonically and via emails, made the promises as set forth in Paragraphs 15 through
  14 60 hereinabove and as evidenced by Exhibits “1" through “11" hereto, to Plaintiffs with
  15 regard to the investment venture with Defendants and Volta and/or other venture
  16 companies.
  17         134. The promises made by Defendants, and each of them, were in fact false,
  18 fraudulent and intentional. The true facts were that Defendants, and each of them,
  19 through Silverstein, knew, at the time they made the foregoing false and fraudulent
  20 promises that there was no “investment program” whereby Plaintiffs would be paid a
  21 10% return per month on their principal investment and there were no bankers and/or
  22 investment companies involved and in truth and in fact it was a “scheme” orchestrated
  23 by Defendants. All of the false and fraudulent promises were made by Defendants,
  24 through Silverstein, to induce Plaintiffs into depositing a total of $50,000.00 into
  25 Defendants’ account.
  26         135. Furthermore, Plaintiffs believe that (a) the payment of $2,250.00 on
  27 November 3, 2020 (which was allegedly the first “return on their principal investment”)
  28 and (b) Defendants’ ongoing promises from November 4, 2020 through at least April
                                              Page 29

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 30 of 39 Page ID #:30



   1 21, 2021 that Plaintiffs would in fact be paid their 10% per month return on their
   2 principal investment would be “paid” (as set forth in Paragraphs 23 through 60
   3 hereinabove) were made with the intent to lull Plaintiff into a false sense of security so
   4 that Plaintiffs would deposit into Defendants’ account an additional $20,000.00 which
   5 Plaintiffs did on November 6, 2020 (as set forth in Paragraph 25 and as evidenced by
   6 Exhibit “7" hereto) and not take the appropriate legal action to collect the outstanding
   7 amounts due by the bringing of a lawsuit.
   8         136. Furthermore, Plaintiffs believe and thereon allege that Defendants, and
   9 each of them, never forwarded the $50,000.00 deposited into Silverstein’s Chase Bank
  10 account by Plaintiffs to Volta or any other investment venture but rather kept said
  11 monies in his own bank account and/or in bank accounts over which Silverstein had
  12 absolute custody and control, thus converting same to his own use and benefit so that
  13 he could use same to further his fraudulent “investment program” and/or his lifestyle.
  14         137. When Defendants, and each of them, intentionally made these false and
  15 fraudulent promises they knew them to be false, and these false and fraudulent promises
  16 were made by Defendants, and each of them, with the intent to defraud and deceive
  17 Plaintiffs, and with the intent to induce Plaintiffs to act in the manner herein alleged.
  18         138. Plaintiffs, at the time these false and fraudulent promises were made by
  19 Defendants, and each of them, and at the time Plaintiffs took the actions herein alleged,
  20 were ignorant of Defendants’ secret intention not to perform and could not, in the
  21 exercise of reasonable diligence, have discovered Defendants’ secret intention not to
  22 perform. In justifiable reliance on these false and fraudulent promises, Plaintiffs were
  23 induced to and did deposit $50,000.00 in a bank account controlled, exclusively, by
  24 Silverstein.
  25         139. Had Plaintiffs known the actual facts, they would never have deposited
  26 said $50,000.00 into a bank account controlled by Silverstein. Plaintiffs reliance on
  27 Defendants' false and fraudulent promises was justified because Silverstein (who is now
  28 and was, at all times mentioned herein, a Certified Public Accountant) had been a long-
                                               Page 30

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 31 of 39 Page ID #:31



   1 time friend and personal and financial advisor to Plaintiffs.
   2         140. As a proximate result of Defendants' fraud and deceit and the facts herein
   3 alleged, Plaintiffs were deprived of not only the promised 10% per month return on
   4 their investment but the ability to invest their monies in a reliable investment program,
   5 all to Plaintiffs' damage in at least the sum of Fifty Thousand and 00/100 Dollars
   6 ($50,000.00) or according to proof at the time of trial, together with interest thereon at
   7 the lawful rate of 10% per annum from and after October 8, 2020 on the sum of
   8 $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00 plus the
   9 promised 10% per month return on their investment from and after October 8, 2020 on
  10 the sum of $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00.
  11         141. The aforementioned conduct of Defendants, and each of them, was
  12 intentional misrepresentation, deceit or concealment of a material fact known to the
  13 Defendants with the intention on the part of the Defendants of thereby depriving
  14 Plaintiffs of property or legal rights or otherwise causing injury, and was despicable
  15 conduct that subjected Plaintiffs to a cruel and unjust hardship in conscious disregard
  16 of Plaintiffs' rights, so as to justify an award of punitive and exemplary damages.
  17                             TENTH CAUSE OF ACTION
  18                       (Unjust Enrichment Against All Defendants)
  19         142. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  20 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  21 set forth herein.
  22         143. Plaintiffs are informed and believe and thereon allege that Defendants, and
  23 each of them, have received a benefit at Plaintiff’s expense.
  24         60.   As alleged herein, as a direct and proximate result of the conduct of
  25 Defendants, and each of them, Plaintiffs have been damaged in at least the sum of
  26 $50,000.00 or an amount to be proved at trial together with interest thereon at the
  27 lawful rate of 10% per annum from and after October 8, 2020 on the sum of $30,000.00
  28 and from and after November 6, 2020 on the sum of $20,000.00 plus the promised 10%
                                               Page 31

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 32 of 39 Page ID #:32



   1 per month return on their investment from and after October 8, 2020 on the sum of
   2 $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00.
   3         61.   As further alleged herein, Defendants, and each of them, have enjoyed a
   4 benefit as alleged in this Complaint to the detriment of Plaintiffs. Plaintiffs are
   5 informed and believe and thereon allege that the benefits conferred upon Defendants,
   6 and each of them, was the result of mistake, fraud or coercion, or request, thus making
   7 their enrichment unjust.
   8                          ELEVENTH CAUSE OF ACTION
   9                          (Conversion Against All Defendants)
  10         144. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  11 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  12 set forth herein.
  13         145. From on or about at least October 8, 2020 through the present, Plaintiffs
  14 were and still are the owners of and entitled to possession of the $50,000.00 deposited
  15 into the Chase Bank account of Defendant Silverstein at his specific insistence and
  16 request as evidenced by Exhibits “4" and “7" hereto.
  17         146. From on or about at least October 8, 2020 through the present, the above-
  18 mentioned property had a value of at least Fifty Thousand and 00/100 Dollars
  19 ($50,000.00).
  20         147. From on or about at least October 8, 2020 through the present, Defendants,
  21 and each of them, took the above-mentioned property from Plaintiffs and converted the
  22 same to their own use and benefit.
  23         148. From on or about March 1, 2021 through the present, when Plaintiffs first
  24 realized that Defendants, and each of them, had taken Plaintiffs’ monies/property and
  25 converted same to their own use and benefit, Plaintiffs demanded, orally and in writing,
  26 that Defendants immediately turn over the above-mentioned property to Plaintiffs but
  27 Defendants, and each of them, to date, have failed and refused and continue to fail and
  28 refuse to do so.
                                              Page 32

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 33 of 39 Page ID #:33



   1         149. As a proximate result of Defendants' conversion, Plaintiffs have been
   2 deprived of the use and benefit to be derived from the property converted, all to
   3 Plaintiffs’ damage in at least the sum of Fifty Thousand and 00/100 Dollars
   4 ($50,000.00) or according to proof at the time of trial together with interest thereon at
   5 the lawful rate of 10% per annum from and after October 8, 2020 on the sum of
   6 $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00 plus the
   7 promised 10% per month return on their investment from and after October 8, 2020 on
   8 the sum of $30,000.00 and from and after November 6, 2020 on the sum of $20,000.00.
   9         150. Between the time of Defendants' conversion of the above-mentioned
  10 monies/property to their own use and benefit and the filing of this action, Plaintiffs
  11 have expended numerous hours of time and effort in pursuit of the converted property,
  12 all to Plaintiffs’ further damage in an amount as yet unascertained but believed to be
  13 in excess of $50,000.00 or according to proof at the time of trial.
  14         151. Since Defendants, and each of them, knew that Plaintiffs needed the
  15 aforesaid property for their granddaughters’ college education, and that they would
  16 incur substantial hardship and expenses as a result of the conversion of the property
  17 belonging to Plaintiffs by Defendants to themselves for their own use and benefit, the
  18 aforementioned conduct of Defendants, and each of them, was done with the intention
  19 on the part of the defendants of depriving Plaintiffs’ property and/or legal rights and
  20 otherwise causing injury and was despicable conduct and subjected Plaintiffs to cruel
  21 and unjust hardships in conscious disregard of Plaintiffs’ rights so as to justify an award
  22 of exemplary and punitive damages.
  23                            TWELFTH CAUSE OF ACTION
  24                   (Negligent Misrepresentation Against all Defendants)
  25         152. Plaintiffs reallege and incorporate herein by reference Paragraphs 1
  26 through 63, inclusive, of Plaintiffs' Complaint with the same force and effect as though
  27 set forth herein.
  28         153. In order to state a claim for negligent misrepresentation, Plaintiffs must
                                                Page 33

                                              COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 34 of 39 Page ID #:34



   1 plead: (1) the misrepresentation of a past or existing material fact, (2) without
   2 reasonable ground for believing it to be true, (3) within intent to induce another’s
   3 reliance on the fact misrepresented, (4) justifiable reliance on the misrepresentation;
   4 and (5) resulting damage. Apollo Fund, LLC v. Roth Capital Partners, LLC, 158
   5 Cal.App.4th 226, 243 (2007). “Negligent misrepresentation is a species of fraud or
   6 deceit specifically requiring an assertion.” Wilson v. Century 21, 15 Cal.App.4th 298,
   7 306 (1993). Yet unlike an allegation of fraud, “negligent misrepresentation does not
   8 require knowledge of falsity.” Apollo, 158 Cal.App.4th at 243. Moreover, the Ninth
   9 Circuit has not yet decided whether the heightened pleading requirements under Rule
  10 9 applied in negligent misrepresentation claims. Petersen v. Allstate Indemnity Co.,
  11 281 F.R.D. 413, 418-19 (C.D. Cal. 2012).
  12         154. In light of the fact that Plaintiffs have stated and set forth a valid claim for
  13 fraud against the Defendants based on the facts alleged hereinabove, we ask the Court
  14 to also find that Plaintiffs have stated a claim for negligent misrepresentation. See
  15 Cisco Systems, Inc. v. Tsai, 215 W.L. 1273249 at *5 (C.D. Cal. January 9, 2015)
  16 (confirming claim for negligent misrepresentation can be established by the same
  17 elements of fraud but without the knowledge element).
  18                                          PRAYER
  19         WHEREFORE, Plaintiffs pray for relief as follows:
  20 On the First Cause of Action:
  21         1.    For damages in at least the sum of Fifty Thousand and 00/100 Dollars
  22 ($50,000.00) or according to proof at the time of trial;
  23         2.    For interest thereon at the lawful rate of 10% per annum from and after
  24 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  25 sum of $20,000.00;
  26         3.    For the promised 10% per month return on their investment from and after
  27 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  28 sum of $20,000.00;
                                                Page 34

                                              COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 35 of 39 Page ID #:35



   1         4.    For punitive and exemplary damages to the extent provided by law;
   2 On the Second Cause of Action
   3         5.    For damages in at least the sum of Fifty Thousand and 00/100 Dollars
   4 ($50,000.00) or according to proof at the time of trial;
   5         6.    For interest thereon at the lawful rate of 10% per annum from and after
   6 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
   7 sum of $20,000.00;
   8         7.    For the promised 10% per month return on their investment from and after
   9 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  10 sum of $20,000.00;
  11 On the Third Cause of Action
  12         8.    For damages in at least the sum of Fifty Thousand and 00/100 Dollars
  13 ($50,000.00) or according to proof at the time of trial;
  14         9.    For interest thereon at the lawful rate of 10% per annum from and after
  15 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  16 sum of $20,000.00;
  17         10.   For the promised 10% per month return on their investment from and after
  18 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  19 sum of $20,000.00;
  20         11.   For punitive and exemplary damages to the extent provided by law;
  21 On the Fourth Cause of Action
  22         12.   For damages in at least the sum of Fifty Thousand and 00/100 Dollars
  23 ($50,000.00) or according to proof at the time of trial;
  24         13.   For interest thereon at the lawful rate of 10% per annum from and after
  25 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  26 sum of $20,000.00;
  27         14.   For the promised 10% per month return on their investment from and after
  28 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
                                              Page 35

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 36 of 39 Page ID #:36



   1 sum of $20,000.00;
   2         15.   For punitive and exemplary damages to the extent provided by law;
   3 On the Fifth Cause of Action
   4         16.   For damages in at least the sum of Fifty Thousand and 00/100 Dollars
   5 ($50,000.00) or according to proof at the time of trial;
   6         17.   For interest thereon at the lawful rate of 10% per annum from and after
   7 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
   8 sum of $20,000.00;
   9         18.   For the promised 10% per month return on their investment from and after
  10 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  11 sum of $20,000.00;
  12 On the Sixth Cause of Action
  13         19.   For damages in at least the sum of Fifty Thousand and 00/100 Dollars
  14 ($50,000.00) or according to proof at the time of trial;
  15         20.   For interest thereon at the lawful rate of 10% per annum from and after
  16 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  17 sum of $20,000.00;
  18         21.   For the promised 10% per month return on their investment from and after
  19 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  20 sum of $20,000.00;
  21         22.   For punitive and exemplary damages to the extent provided by law;
  22 On the Seventh Cause of Action
  23         23.   For damages in at least the sum of Fifty Thousand and 00/100 Dollars
  24 ($50,000.00) or according to proof at the time of trial;
  25         24.   For interest thereon at the lawful rate of 10% per annum from and after
  26 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  27 sum of $20,000.00;
  28         25.   For the promised 10% per month return on their investment from and after
                                              Page 36

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 37 of 39 Page ID #:37



   1 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
   2 sum of $20,000.00;
   3 On the Eighth Cause of Action:
   4         26.   For damages in at least the sum of Fifty Thousand and 00/100 Dollars
   5 ($50,000.00) or according to proof at the time of trial;
   6         27.   For interest thereon at the lawful rate of 10% per annum from and after
   7 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
   8 sum of $20,000.00;
   9         28.   For the promised 10% per month return on their investment from and after
  10 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  11 sum of $20,000.00;
  12         29.   For punitive and exemplary damages to the extent provided by law;
  13 On the Ninth Cause of Action:
  14         30.   For damages in at least the sum of Fifty Thousand and 00/100 Dollars
  15 ($50,000.00) or according to proof at the time of trial;
  16         31.   For interest thereon at the lawful rate of 10% per annum from and after
  17 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  18 sum of $20,000.00;
  19         32.   For the promised 10% per month return on their investment from and after
  20 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  21 sum of $20,000.00;
  22 On the Tenth Cause of Action:
  23         33.   For damages in at least the sum of Fifty Thousand and 00/100 Dollars
  24 ($50,000.00) or according to proof at the time of trial;
  25         34.   For interest thereon at the lawful rate of 10% per annum from and after
  26 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  27 sum of $20,000.00;
  28         35.   For the promised 10% per month return on their investment from and after
                                              Page 37

                                            COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 38 of 39 Page ID #:38



   1 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
   2 sum of $20,000.00;
   3        36.     For punitive and exemplary damages to the extent provided by law;
   4 On the Eleventh Cause of Action:
   5        37.     For damages in at least the sum of Fifty Thousand and 00/100 Dollars
   6 ($50,000.00) or according to proof at the time of trial;
   7        38.     For interest thereon at the lawful rate of 10% per annum from and after
   8 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
   9 sum of $20,000.00;
  10        39.     For the promised 10% per month return on their investment from and after
  11 October 8, 2020 on the sum of $30,000.00 and from and after November 6, 2020 on the
  12 sum of $20,000.00;
  13 On All Causes of Action
  14        40.     For costs of suit incurred herein; and
  15        41.     For any such other and further relief as this Honorable Court deems just
  16 and proper.
  17        DATED: November 30, 2021
  18                                  Respectfully submitted,
  19                               RONALD P. SLATES
                              A PROFESSIONAL CORPORATION
  20
                                     /s/ RONALD P. SLATES
  21
                                    BY: RONALD P. SLATES
  22               Attorney for Plaintiffs John (Beau) Billingslea, an individual
                              and Cecelia Billingslea, an individual
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                                               Page 38

                                             COMPLAINT
Case 2:21-cv-09369-DMG-RAO Document 1 Filed 12/02/21 Page 39 of 39 Page ID #:39



   1                                     VERIFICATION


                                                             ~ ss
   2 STATE OF CALIFORNIA
   3   COUNTY OF LOS ANGELES
   4         I, the undersigned, say:
   5         I, JOHN (BEAU) BILLINGSLEA, am one of the Plaintiffs in the above-entitled
   6 action; I have read the foregoing COMPLAINT FOR: 1. Violation of § 10(b) of the
   7 Securities Exchange Act of 1933 and Rule l0(b)-(5); 2. Violation of§ 12(a)(l) of the
   8   1933 Securities Act; 3. Violation of the Racketeering Influence and Corrupt
   9   Organizations "RICO"; 4. Breach of Contract; 5. Fraud and Deceit - Intentional
  10 Misrepresentation - Suppression of Fact; 6. Fraud and Deceit - Negligent
  11 Misrepresentation - Suppression of Fact; 7. Fraud and Deceit - Intentional
  12 Misrepresentation - Fraud in the Inducement; 8. Fraud and Deceit - Negligent
  13 Misrepresentation - Fraud in the Inducement; 9. Fraud and Deceit - Promise Made
  14 Without Intent to Perform; 10. Unjust Enrichment; 11. Conversion; and 12. Negligent
  15 Misrepresentation and know the contents thereof; and that the same is true of my own
  16 knowledge, except as to the matters which are therein stated upon my information and
  17 belief, and as to those matters that I believe it to be true.
  18         I certify (or declare) under penalty of perjury under the laws of the United States
  19 of America, that the foregoing is true and correct.
  20         Executed on November.S 0 , 2021, at Los
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                                                Page 39

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